        Case 1-22-41218-nhl      Doc 11     Filed 06/13/22     Entered 06/13/22 18:07:35

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                    x
In re


KIERA MOORE COHANE,                                                Case No. 22-41218


                                       Debtor.                    Chapter 7
                                                    x

                        STATEMENT OF PRE-PETITION SERVICES
                           PURSUANT TO E.D.N.Y. LBR 2017-1

         I am the attorney for the above-captioned debtor. Pursuant to E.D.N.Y. LBR 2017-1, I
hereby make the following statement regarding the services rendered to the debtor prior to
the commencement of this case.


         Along with members of my staff, I consulted with the Debtor on no less than two
occasions regarding the bankruptcy case generally, the options available, the collection efforts
of creditors, the financial information pertinent to the case, the financial course requirements,
the requirements of filing tax returns and payment advices, the need for complete and accurate
disclosure of the information contained in the schedules and related documents, the debtor’s
pre-petition duties, the debtor’s post-petition duties, whether the debtor qualified to file a
bankruptcy case, and related issues.


         After my paralegal prepared a draft of the petition and schedules, I spent no less than
two hours reviewing the documents and records and consulting with the debtor to review the
documents and discuss the meeting of creditors. Therefore, at my hourly rate of $450 an hour,
all or a significant portion of the fees paid by the debtor were expended prior to the petition
date.


Dated: May 31, 2022                                          /s/Norma E. Ortiz
       New York, New York                                    Norma E. Ortiz,
                                                             Esq. Ortiz & Ortiz,
                                                             L.L.P.
